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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


  In re FIRSTENERGY CORP. SECURITIES         )   No. 2:20-cv-03785-ALM-KAJ
  LITIGATION                                 )
                                             )   CLASS ACTION

  This Document Relates To:                  )
                                             )   Judge Algenon L. Marbley
  ALL ACTIONS                                )   Magistrate Judge Kimberly A. Jolson
                                             )   Special Master Shawn K. Judge
                                             )

  MFS Series Trust I, et al.,                )   Case No. 2:21-cv-05839-ALM-KAJ
                                             )
                         Plaintiffs,         )
                                             )
         vs.                                 )
                                             )
  FirstEnergy Corp., et al.,                 )
                                             )
                         Defendants.
                                             )

  Brighthouse Funds Trust II – MFS Value     )   Case No. 2:22-cv-00865-ALM-KAJ
  Portfolio, et al.,                         )
                                             )
                         Plaintiffs,         )
                                             )
         vs.                                 )
                                             )
  FirstEnergy Corp., et al.,                 )
                                             )
                         Defendants.
                                             )



  DEFENDANT FIRSTENERGY’S POSITION STATEMENT ON PROPOSED MOTION
   FOR LEAVE TO FILE REPLY IN SUPPORT OF DEFENDANT FIRSTENERGY’S
  OBJECTIONS TO THE SPECIAL MASTER’S NOVEMBER 29 AND 30, 2023 ORDERS
Case: 2:20-cv-03785-ALM-KAJ Doc #: 621 Filed: 01/17/24 Page: 2 of 15 PAGEID #: 13720




                 FirstEnergy seeks to file a motion with the District Court requesting leave to file a

 seven-page reply in support of its Objections to the Special Master’s November 29 and 30, 2023

 Orders. As directed by the Special Master’s December 19, 2023 Order, FirstEnergy has met and

 conferred with Movants and now requests leave to file its motion with the District Court.

                 Good cause exists for leave to file the proposed Reply (attached as Exhibit A)

 because it addresses arguments newly raised in Movants’ Oppositions to FirstEnergy’s Objections.

 See NCMIC Ins. Co. v. Smith, 375 F. Supp. 3d 831, 835 (S.D. Ohio 2019) (good cause exists to

 file sur-reply to respond to “new grounds that were not included in movant’s initial motion”);

 Order, ECF No. 576 at PageID 12426 (replies permitted where “ordered by the Court”). Chief

 Judge Marbley previously granted Plaintiff State Teachers Retirement System of Ohio in this case

 leave to file a sur-reply to present an “important analysis,” not presented in then-existing briefing,

 in connection with motions for appointment of the lead plaintiff and consolidation. (Motion for

 Leave to File Sur-Reply, ECF No. 60 at PageID 1441; see also Opinion and Order, ECF No. 65 at

 PageID 1523.)

                 FirstEnergy’s proposed Reply, which it is prepared to file immediately, addresses

 three arguments that Movants did not raise prior to the November 29 and 30, 2023 Orders and,

 therefore, which FirstEnergy had no opportunity to respond to in its Objections:

                 1.     Plaintiffs’ newly raised assertion that the Court cannot consider

 FirstEnergy’s arguments and authorities addressing the core of the Special Master’s orders—

 specifically, the exclusion of the O’Neil Declaration because of a purported technical defect and

 the denial of leave to amend that declaration—or the Amended O’Neil Declaration. (Opp., ECF

 No. 615 at PageID 13528.) None of Plaintiffs’ cases held that, under de novo review, a reviewing

 court cannot consider arguments and authorities directly relevant to the rationale of an underlying

 order (which, here, Movants never raised in their original briefing), and Rule 53(f) of the Federal
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 Rules of Civil Procedure permits the Court to “receive evidence” in reviewing a Special Master’s

 order.

                2.      Plaintiffs’ new theory that Mr. O’Neil “lacks personal knowledge” for many

 of the statements in his declaration, even though he was a member of the Board committees that

 oversaw the Jones Day and Squire Patton Boggs investigations.

                3.       Plaintiffs’ reliance on Medinol, Ltd. v. Boston Scientific Corp., 214 F.R.D.

 113 (S.D.N.Y. 2002), a case that they never before cited, for the proposition that FirstEnergy’s

 disclosures to its non-adversary auditor, PricewaterhouseCoopers, waived work-product

 protection. (Opp., ECF No. 615 at PageID 13558–61.) If the Court is going to consider Plaintiffs’

 new arguments under Medinol, the Court should also be aware, as set forth in the attached reply,

 that Medinol’s analysis on this point “has been almost uniformly rejected.” In re Weatherford Int’l

 Sec. Litig., 2013 WL 12185082, at *5 (S.D.N.Y. Nov. 19, 2013) (quoting Vacco v. Harrah’s

 Operating Co., Inc., 2008 WL 4793719, at *6 (N.D.N.Y. Oct. 29, 2008)).

                Finally, there is good cause for leave to file the attached Reply because of the

 importance of the November 29 and 30 Orders authorizing broad discovery into internal

 investigations conducted by Jones Day and Squire Patton Boggs on the basis of the exclusion of

 Mr. O’Neil’s declaration. As the Special Master recognized at the December 21, 2023 hearing:

 “[I]t’s a huge issue . . . [I]t is certainly the biggest discovery issue I think in the case and I can’t

 imagine a more critical discovery issue than this one.” (Dec. 21, 2023 Hearing Tr., ECF No. 610

 at PageID 13321.)

  Dated: January 17, 2024                             Respectfully,

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                         EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


  In re FIRSTENERGY CORP. SECURITIES         )   No. 2:20-cv-03785-ALM-KAJ
  LITIGATION                                 )
                                             )   CLASS ACTION

  This Document Relates To:                  )
                                             )   Judge Algenon L. Marbley
  ALL ACTIONS                                )   Magistrate Judge Kimberly A. Jolson
                                             )
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  MFS Series Trust I, et al.,                )   Case No. 2:21-cv-05839-ALM-KAJ
                                             )
                         Plaintiffs,         )
                                             )
         vs.                                 )
                                             )
  FirstEnergy Corp., et al.,                 )
                                             )
                         Defendants.
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  Brighthouse Funds Trust II – MFS Value     )   Case No. 2:22-cv-00865-ALM-KAJ
  Portfolio, et al.,                         )
                                             )
                         Plaintiffs,         )
                                             )
         vs.                                 )
                                             )
  FirstEnergy Corp., et al.,                 )
                                             )
                         Defendants.
                                             )


                          REPLY IN SUPPORT OF FIRSTENERGY’S
                         OBJECTIONS TO THE SPECIAL MASTER’S
                           NOVEMBER 29 AND 30, 2023 ORDERS
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                                 PRELIMINARY STATEMENT

                In their 59 pages of opposition briefing, Movants devote just two pages to

 defending the Special Master’s rationale for excluding the O’Neil Declaration (ECF No. 607-3,

 Ex. 1)—the sole basis on which he granted unprecedented discovery into Jones Day’s and Squire

 Patton Boggs’ investigations. (See Pls.’ Opp., ECF No. 615 at PageID 13547–49.) Movants ignore

 that the governing statute, 28 U.S.C. § 1746, requires only “substantial,” not strict, compliance,

 which the O’Neil Declaration satisfied. Peters v. Lincoln Elec. Co., 285 F.3d 456, 475–76 (6th

 Cir. 2002). They do not cite a single case holding a declaration defective solely because it did not

 contain the words “true and correct.” They have no response to Federal Rule of Evidence 104(a),

 which makes whether “evidence is admissible” irrelevant to privilege determinations. And they

 identify no prejudice that would have resulted from Special Master’s consideration of the

 Amended O’Neil Declaration (ECF No. 607-3, Ex. 2).

                Having no response on these dispositive points, Movants instead advance new

 arguments, none of which supports upholding the Special Master’s November 29 and 30, 2023

 Orders (ECF Nos. 571, 575).

                First, Plaintiffs claim that this Court cannot consider the Amended O’Neil

 Declaration or any arguments or authorities that FirstEnergy raised after the Special Master’s

 rulings. (Pls.’ Opp. at PageID 13527–30.) But this Court’s de novo review necessarily requires

 review of the substance of the Special Master’s Orders, including his sua sponte exclusion, without

 any briefing or argument, of the O’Neil Declaration for not containing the words “true and

 correct.”

                Second, Plaintiffs claim that ten paragraphs in the O’Neil Declaration contain

 statements not based on his personal knowledge. (Pls.’ Opp. at PageID 13549–51.) But Plaintiffs

 waived this argument by not raising it in their original briefing and, in fact, affirmatively relying
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 on Mr. O’Neil’s declaration in support of their motion. (See Plaintiffs’ Reply Br., ECF No. 529 at

 PageID 11438–39.) In any event, Mr. O’Neil, who served on the very Board committees that

 supervised the investigations, plainly “has personal knowledge of the [b]oard’s practices.”

 Markowicz v. Nielsen, 316 F. Supp. 3d 178, 196–97 (D.D.C. 2018).

                Finally, Plaintiffs rely on bad law—Medinol, Ltd. v. Boston Scientific Corp., 214

 F.R.D. 113 (S.D.N.Y. 2002)—to support their claim that FirstEnergy’s communications with its

 auditor, PricewaterhouseCoopers (“PwC”), waived the work product protection over those

 communications. (Pls.’ Opp. at PageID 13560–62.)

                In the end, the record is overwhelming (including evidence that the Special Master

 did not address in his November 29 Order) that the Jones Day and Squire investigations were

 conducted because FirstEnergy was directly responding to very significant legal risks it faced

 from, and seeking legal advice to respond to, government investigations and civil litigations,

 including this very case. Movants provide no support for their assertion that employment decisions

 or auditor communications were the purpose of these investigations.

                                          ARGUMENT

 I.     THIS COURT SHOULD REJECT PLAINTIFFS’ EFFORT TO LIMIT ITS
        REVIEW OF THE SPECIAL MASTER’S ORDERS.

                Plaintiffs recognize that the Special Master’s findings of fact and conclusions of

 law must be reviewed de novo (see Order Appointing Special Master, ECF No. 541 at

 PageID 11687–88), but mischaracterize that standard of review in three key respects:

                First, Plaintiffs attack a strawman in claiming that this Court cannot consider “new

 evidence.” (Opp. at PageID 13528.) The Amended O’Neil Declaration is not “new evidence.”

 All it does is cure a purported technical deficiency by adding the words “true and correct” and




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 explaining the inadvertent omission, and otherwise presents exactly the same facts presented to

 the Special Master. (See Menillo Decl. Ex. A (comparing original and amended declarations).)

                Second, even if the Amended O’Neil Declaration were “new,” Plaintiffs are wrong

 to claim that this Court cannot consider it. Under Rule 53(f)(1), “[i]n acting on a master’s order,

 . . . th[is] court . . . may receive evidence” (emphasis added), as courts repeatedly have done in

 reviewing objections to a special master’s order. See, e.g., Nat.-Immunogenics Corp. v. Newport

 Trial Grp., 2018 WL 6168035, at *5 (C.D. Cal. June 12, 2018) (receiving “new evidence”

 submitted with objections to Special Master order); Muhammad v. Close, 798 F. Supp. 2d 869,

 875–76 (E.D. Mich. 2011) (receiving affidavit submitted with objections to magistrate’s report).

                Third, Plaintiffs erroneously claim (at PageID 13528–29) that this Court may

 consider only arguments made and authorities submitted to the Special Master. But Plaintiffs

 ignore that FirstEnergy’s supposedly “new arguments” and “new set of authorities” concern (1) the

 Special Master’s sua sponte exclusion of the O’Neil Declaration and his denial of leave to amend,

 without allowing any briefing; or (2) the governing standards of review for FirstEnergy’s

 Objections. Because these issues arose after the Special Master excluded the O’Neil Declaration,

 Defendants could not have presented these arguments and authorities to the Special Master.

                Plaintiffs’ cases do not support Plaintiffs’ cramped interpretation of de novo review.

 The Sixth Circuit in United States v. Beauchamp did not hold that an appeals court cannot consider

 new arguments or cases. 659 F.3d 560 (6th Cir. 2011) (Marbley, C.J., sitting by designation).

 Rather, Beauchamp held only that de novo review gives no deference to the underlying decision.

 Id. 569 n.3 (“[W]e do not defer to the lower court’s ruling but freely consider the matter anew, as

 if no decision had been rendered below.”). In Murr v. United States, a defendant asserted an

 entirely new basis for post-conviction relief—that his trial should have been severed—in




                                                 -3-
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  supplemental objections after a magistrate judge had already issued a ruling and the parties had

  completed briefing on objections. 200 F.3d 895, 902–03, n.1 (6th Cir. 2000). Even so, the Sixth

  Circuit considered the merits of the issue. Id. Finally, in Watkins v. Commissioner of Social

  Security, the court found waiver where the defendant had failed to oppose an argument plaintiffs

  raised to the magistrate judge, only to attempt to address that argument for the first time at the

  district court level. 2015 WL 5158938, at *2. Watkins nonetheless addressed the merits of the

  issue. Id. None of these cases held that the core basis of a Special Master’s order is off-limits

  when reviewed by a district court, much less a sua sponte basis like the one here.

  II.    PLAINTIFFS’ NEW THEORY THAT MR. O’NEIL LACKED PERSONAL
         KNOWLEDGE IS WAIVED AND BASELESS.

                 In litigating their motion to compel, Plaintiffs never raised—and thus waived—

  their new theory that Mr. O’Neil lacked personal knowledge to make the statements in his

  declaration.1 Indeed, Plaintiffs themselves affirmatively relied on the O’Neil Declaration in their

  reply on their motion to compel. (See Plaintiffs’ Reply Br., ECF No, 529 at PageID 11438–39.)

  In any event, Plaintiffs’ new theory fails because a declaration cannot be excluded for lack of

  personal knowledge “unless no reasonable juror could believe that the witness had the ability and

  opportunity to perceive the event that he testifies about.” Valley Force Ins. Co. v. Fisher

  Klosterman, Inc., 2016 WL 8201164, at *1 (S.D. Ohio Mar. 30, 2016). As a FirstEnergy director

  and member of the independent board committees that actually oversaw the investigations,2 Mr.

  1
          See, e.g., Rogers v. Henry Ford Health Sys., 897 F.3d 763, 767 n.1 (6th Cir. 2018) (failing
  to move to strike means “any objection to the declaration was waived”); Thornton v. City of
  Columbus, 171 F. Supp. 3d 702, 705 (S.D. Ohio 2016) (Marbley, J.) (“Plaintiffs provide no
  argument concerning their state law claims” and thus “waived any arguments”). Movants’ waiver
  also extends to their failure to argue that the O’Neil Declaration was deficient in any respect. (See
  Objections, ECF No. 607-1 at PageID 13192–93.)
  2
         See O’Neil Decl., ECF No. 511-1 at PageID 10938, 10940–43; Am. O’Neil Decl., ECF
  No. 592-3 at PageID 12994, 12996–99.


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  O’Neil plainly had personal knowledge of why those investigations were conducted. See Nielsen,

  316 F. Supp. 3d at 196–97 (as “a member of the Advisory Board” the declarant “ha[d] personal

  knowledge of the Board’s practices”); Progressive Cas. Ins. Co. v. F.D.I.C., 80 F. Supp. 3d 923,

  936 (N.D. Iowa 2015) (director’s “involvement in the decision-making process and the pertinent

  meetings would lead a reasonable trier of fact to believe that [the director] had personal

  knowledge” of “the matters to which she avers”).3

                 Mr. O’Neil’s testimony unequivocally rebuts Movants’ speculation that the Jones

  Day and Squire investigations were performed for business reasons and would have been

  performed in the same way absent those legal risks. (See O’Neil Decl., ECF No. 511-1 at PageID

  10938, 10942–43; Am. O’Neil Decl., ECF No. 592-3 at PageID 12994, 12998–99.)4 And

  FirstEnergy’s other evidence, including documents and deposition excerpts, which were not

  referenced in the Special Master’s November 29 Order, independently demonstrates that

  FirstEnergy and its Board initiated these investigations in response to the wave of actual and

  threatened government investigations and civil litigation, including this securities action, that

  confronted the Company with unprecedented legal risk.5 (See Objections at PageID 11398–99;


  3
         For example, Plaintiffs criticize the O’Neil Declaration for making “I understand”
  statements (Opp. at PageID 13550), but those statements describe Mr. O’Neil’s understanding of
  Movants’ arguments and not any underlying facts (see O’Neil Decl. at PageID 10942).
  4
          Plaintiffs propose an entirely new standard in claiming that the investigations are not
  protected because FirstEnergy faced no risk of “arrest or any other immediate peril from any legal
  proceedings, which (as this case confirms) take years to reach the merits.” (Opp. at PageID
  13543.) Work product applies to documents prepared “in anticipation of litigation or for trial,”
  not just documents created on the eve of an arrest or judgment. Fed. R. Civ. P. 26(b)(3)(A). Nor
  are Plaintiffs correct about the timeline, as FirstEnergy entered into a Deferred Prosecution
  Agreement with the DOJ on July 22, 2021, barely a year after initiating the investigations.
  5
         The cases cited in Plaintiffs’ Opposition (at PageID 1342) in which courts required limited
  disclosure of investigation documents are not on point. See Koumoulis v. Indep. Fin. Mktg. Grp.,
  Inc., 295 F.R.D. 28, 43, 46 (E.D.N.Y. 2013), aff’d, 29 F. Supp. 3d 142 (E.D.N.Y. 2014)
  (documents from investigation by human resources, not outside counsel, were discoverable where



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  13221–24 (App’x A).)

  III.   MOVANTS’ WAIVER ARGUMENT IS WRONG AND RELIES ON BAD LAW.

                 Plaintiffs wrongly claim that case law in this Circuit uniformly holds that disclosure

  to an auditor waives work product protection. (See Opp. at PageID 13558.) In support, Plaintiffs

  cite two district court cases within the Sixth Circuit, but both turned on a finding that the documents

  were not entitled to work product protection to begin with. See In re King Pharms., Inc. Sec. Litig.,

  2005 WL 8142328, at *3 (E.D. Tenn. Sept. 21, 2005) (“[W]hether PWC was an ‘adversary’ or not

  is beside the point” because documents “not furnished ‘in anticipation of litigation’”); First

  Horizon Nat’l Corp. v. Houston Cas. Co., 2016 WL 5867268, at *10 (W.D. Tenn. Oct. 5, 2016)

  (“in anticipation of litigation” prong not met).6

                 Moreover, Plaintiffs ignore cases directly contrary to their argument—New

  Phoenix Sunrise Corp. v. Comm’r of Internal Revenue, 408 F. App’x 908, 919 (6th Cir. 2010)

  (disclosure to an auditor “is consistent with the privilege”), and Grae v. Corr. Corp. of Am., 2020

  WL 3035915, at *6, *8 (M.D. Tenn. June 5, 2020) (work product protection applied to documents

  “shared with non-counsel third parties,” including “[defendant’s] auditor”). (See FirstEnergy’s

  Opp. Br., ECF No. 510 at PageID 10916–19.)

                 Having no good law to cite, Plaintiffs rely on bad law. They cite Medinol, 214

  F.R.D. 113, for their theory that PwC should be treated as adverse to FirstEnergy because PwC



  “[d]efendants ha[d] not offered evidence that any of the documents were created because of
  litigation”); Calendar Rsch. LLC v. StubHub, Inc., 2019 WL 11558873, at *1, *5 (C.D. Cal. July
  25, 2019) (only discoverable document from investigation was “purely factual” and prepared by
  non-lawyers).
  6
          Cases cited by Jones and Dowling (Jones and Dowling Opp., ECF No. 614 at PageID
  13501) do not support waiver here for the same reason. See Willkie Farr & Gallagher, 1997 WL
  118369 at *2 (S.D.N.Y. Mar. 14, 1997) (“in anticipation of litigation” prong not met); SEC v. RPM
  Int’l, No. 16-cv-1803 (D.D.C. Feb. 12, 2020) (ECF No. 82, Hearing Tr. at 11:10–15) (same).



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  purportedly might face legal exposure for its role in preparing FirstEnergy’s SEC filings. But

  Plaintiffs’ 350-word quote from Medinol for the proposition that disclosure to an auditor waives

  work product protection because an auditor must “maintain total independence” and does not share

  a “common interest” with the company (Opp. at PageID 13561) has been “almost uniformly

  rejected.” In re Weatherford Int’l Sec. Litig., 2013 WL 12185082 (S.D.N.Y Nov. 19, 2013) at *5.

  Even the judge who authored Medinol has since walked away from that decision, favorably citing

  United States v. Deloitte LLP, 610 F.3d 129, 140 (D.C. Cir. 2010), in ruling that “the possibility

  of a future dispute between [the auditor] and [company] does not render [the auditor] a potential

  adversary for the present purpose.” In re Am. Realty Cap. Props., Inc. Litig., 2017 WL 11641957,

  at *5 (S.D.N.Y. Aug. 14, 2017). Plaintiffs have no response to the fact that PwC and FirstEnergy

  have never sued one another, and PwC remains FirstEnergy’s external auditor, confirming that

  Movants’ claimed adversity never materialized.7

                                          CONCLUSION

                 For the reasons set forth above and in its Objections, FirstEnergy respectfully

  requests that the Court (1) grant FirstEnergy leave to amend the O’Neil Declaration in the form

  submitted to the Court as the Amended O’Neil Declaration; (2) reverse the Special Master’s

  November 29 and November 30 Orders; and (3) deny the Motion to Compel.



  7
         In In re Columbia/HCA Healthcare Corp. Billing Pracs. Litig., 293 F.3d 289, 292–93, 302
  (6th Cir. 2002), the Sixth Circuit rejected that work product can be disclosed to one adversary
  without waiving work product as to another adversary. Here, however, PwC was not FirstEnergy’s
  adversary. In In re Anadarko Petroleum Corp. Securities Litigation, there were multiple,
  independent bases for waiver not present here. 2023 WL 2733401, at *4–*5 (S.D. Tex. March 31,
  2023), reconsideration denied, 2023 WL 430750 (S.D. Tex. June 30, 2023). There, the defendant
  revealed “a significant portion of confidential communications” to the SEC, an adversary, and
  then, creating a classic “sword and shield” situation, cited the SEC decision not to bring an
  enforcement action as demonstrating an absence of liability while refusing to disclose the facts on
  which the SEC relied in reaching that conclusion. Id.


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   Dated: January 17, 2024                 Respectfully,

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                                   DECLARATION OF SERVICE

                 I certify that the foregoing was filed electronically on January 17, 2024. Notice of

  this filing will be sent to all electronically registered parties by operation of the Court’s electronic

  filing system. Parties may access this filing through the Court’s system.


                                                         /s/ Thomas D. Warren
                                                         Thomas D. Warren (0077541)

                                                         Counsel for Defendant FirstEnergy Corp.
